Case 2:17-cv-07727-PSG-JEM Document 79 Filed 05/09/18 Page 1 of 2 Page ID #:1406

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       17-CV-7727-PSG (JEMx)                                       Date    May 9, 2018
 Title          Barry Rosen v. United States Government, Federal Aviation Administration, and City of
                Santa Monica




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court DENIES Plaintiff’s Ex Parte Application for
                                      Order Striking Defendants’ Rule 12 Motions


       Before the Court is Plaintiff Barry Rosen’s (“Plaintiff”) ex parte application for an order
striking Defendants United States Government and Federal Aviation Administration and City of
Santa Monica’s (“Defendants”) motions to dismiss. Defendants opposed, see Dkts. # 73 (“Gov.
Opp.”), 74 (“City Opp.”). The Court finds the matter appropriate for decision without oral
argument. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the moving papers, the Court
DENIES Plaintiff’s application.

I.       Background

       In January 2017, the City of Santa Monica entered into a Consent Decree with the Federal
Aviation Administration (“FAA”), which provided, among other things, for an operational
runway length of 3,500 feet at the Santa Monica Airport; Plaintiff filed suit seeking to invalidate
the 2017 Consent Decree. See Dkt. # 1, Complaint. On April 30, 2018, Plaintiff filed an
application for entry of default. See Dkt. # 67. That application was rejected because both
Defendants had already filed motions to dismiss. See Dkts. # 69, 57, 58. Plaintiff now files an
ex parte application to strike those motions for failure to comply with proper service.

II.      Legal Standard

       The law on ex parte applications is well-settled in the Ninth Circuit: In order to justify ex
parte relief, the moving party must establish (1) that its cause will be irreparably prejudiced if
the underlying motion is heard according to regular noticed motion procedures, and (2) that it is
without fault in creating the crisis that requires ex parte relief, or that the crisis occurred as a

CV-90 (10/08)                                CIVIL MINUTES - GENERAL                               Page 1 of 2
Case 2:17-cv-07727-PSG-JEM Document 79 Filed 05/09/18 Page 2 of 2 Page ID #:1407

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
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result of excusable neglect. See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488,
492 (C.D. Cal. 1995). Additionally, the Court’s Standing Order requires strict compliance with
the Mission Power standard and makes clear that “[e]x parte applications are solely for
extraordinary relief.” Standing Order ¶ 10.

III.     Discussion

       Defendants’ motions to dismiss are set for hearing on July 9, 2018. See Dkts. # 57, 58.
As the United States and FAA Defendants note, “Plaintiff still has ample time to respond to the
motion. He may timely oppose the Federal Defendants’ motion to dismiss up until twenty-one
days before the hearing on the motion, L.R. 7-9, giving him until June 18, 2018. If Plaintiff
contends that this is insufficient time, the Federal Defendants remain willing to stipulate to a
reasonable extension.” Gov. Opp. 4. Plaintiff claims that an ex parte application is appropriate
because, due to his “various upcoming travel and other business commitments,” it is “in the
overall interest of Judicial Economy to bring this issue to the courts [sic] attention at this time in
order to avoid the Court (and the parties) having to deal with as many as five (5) motions/cross
motion briefings” on the scheduled hearing date. App. 9.

        Plaintiff fails to establish (or even argue) that he will be irreparably prejudiced if the
motions are heard according to regular noticed motion procedures, and accordingly does not
satisfy the Mission Powers standard justifying extraordinary relief.

       Moreover, Plaintiff failed to satisfy the notice requirements for an ex parte application.
Local Rule 7-19.1 requires that “the attorney filing an ex parte application shall make a
reasonable, good faith effort to orally advise counsel for other parties, if known, of the date and
substance of the proposed ex parte application, and shall advise the Court of any efforts to
contact opposing counsel.” L.R. 7-19.1. Plaintiff failed to notify opposing counsel that he
would file an ex parte application as required by the Rule. Gov. Opp. 1?2; see also Dkt. # 73-1,
Declaration of Gary Feldon (“Feldon Decl.”) ¶ 4.

IV.      Conclusion

         For the foregoing reasons, the Court DENIES Plaintiff’s ex parte application.

         IT IS SO ORDERED.




CV-90 (10/08)                             CIVIL MINUTES - GENERAL                              Page 2 of 2
